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Case 2:20-cr-00092-JCC Document 585 Filed 11/02/21 Page 1 of 2

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AT SEATTLE
CLERK U.S. DISTRICT
By STERN DISTRICT OF WASHINGTON

DEPUTY

Magistrate Judge S. Kate Vaughan ~

UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA,
| Plaintiff,
v.
LUIS CASTILLO-BARRAGAN .

Defendant —

 

 

NO. CR20-092 JCC

CONSENT TO RULE 11
PLEA IN A FELONY CASE
BEFORE A UNITED
STATES MAGISTRATE
JUDGE

I have been advised by my attorney and by the United States Magistrate Judge of my

right to enter my plea in this case before a United States District Judge. I hereby declare my

intention to enter a plea of guilty in the above case, and I request and consent to the

acceptance of my plea by a United States Magistrate Judge pursuant to Rule 11 of the

Federal Rules of Criminal Procedure.
/
HI
//

CONSENT TO RULE 11 PLEA
United States v. Luis Castillo-Barragan, CR20-092-JCC - 1

UNITED STATES ATTORNEY
700 STEWART STREET, SUITE 5220
SEATTLE, WASHINGTON 98101
(206) 553-7970
 

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I understand that if the United States Magistrate Judge orders the preparation of a
presentence investigation report, the assigned United States District Judge will then decide
whether to accept or reject my plea of guilty and any plea agreement I may have with the

United States and will adjudicate guilt and impose sentence.

DATED this 2nd day of November, 2021.

La O—Lrlo
i418 CASTILLO-BARRAGAN
Defendant

(f \——

JAMES FELDMAN
Attérmey for Defendant

 

APPROVED:

 

 

CONSENT TO RULE 11 PLEA UNITED STATES ATTORNEY

. . : 700 STEWART STREET, SUITE 5220
United States v. Luis Castillo-Barragan, CR20-092-JCC - 2 SEATTLE, WASHINGTON 98101

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